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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                             )
In re                                                        )      Chapter 11
                                                             )
TOUGH MUDDER INC., et al., 1                                 )      Case No. 20-10036 (CSS)
                                                             )
                       Debtors.                              )      Jointly Administered
                                                             )
                                                             )      Re: D.I. 74

            ORDER (I) EXTENDING THE TIME TO FILE RULE 2015.3 REPORTS
                        AND (II) GRANTING RELATED RELIEF

                 Upon consideration of the motion (the “Motion”) 2 of Derek C. Abbott, Esq. the

chapter 11 trustee (the “Trustee”) for Tough Mudder Inc. (“Tough Mudder”) and Tough Mudder

Event Production Inc. (“TM Events” and, together with Tough Mudder, the “Debtors”), for entry of

an order (this “Order”) pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rules 2015.3

and 9006(b), and Local Rule 9006-2, extending the time within which the Debtors must file the Rule

2015.3 Reports, as more fully set forth in the Motion; and due and sufficient notice of the Motion

having been given; and it appearing that no other further notice need be provided; and it appearing

that the relief requested by this Motion is in the best interests of the Debtors, their estates, their

creditors, and other parties in interest; and after due deliberation and sufficient cause appearing

therefor;

        IT IS HEREBY ORDERED THAT:

                 1.       The Motion is GRANTED as set forth herein.


1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’
        address is 15 MetroTech Center, Brooklyn, NY 12201.
2
        Capitalized terms not otherwise defined herein are used as in the Motion.
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               2.      The deadline for the Trustee to file the Rule 2015.3 Reports is extended

through and including sixty (60) days after entry of this Order.

               3.      This Order shall be without prejudice to the Trustee’s ability to seek a further

extension or waiver.

               4.      The Trustee is authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

               5.      Notwithstanding any Bankruptcy Rule to the contrary, this Order shall be

immediately effective and enforceable upon its entry.

               6.      This Court shall retain jurisdiction to hear and determine all matters arising

from or related to the implementation, interpretation, or enforcement of this Order.




        Dated: March 11th, 2020                       CHRISTOPHER S. SONTCHI
        Wilmington, Delaware                          UNITED STATES BANKRUPTCY JUDGE
